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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


 [PROPOSED] ORDER REGARDING UNOPPOSED MOTION TO PRODUCE
            TRIAL EXHIBITS VIA ELECTRONIC MEANS


        This matter comes before the Court on the Government’s Unopposed Motion to

 Produce Trial Exhibits via Electronic Means. Having reviewed the motion and being

 fully apprised of its circumstances, it is hereby

        ORDERED that the Government’s Unopposed Motion to Produce Trial

 Exhibits Via Electronic Means is GRANTED;

        IT IS FURTHER ORDERED that the government shall provide one original

 paper set of its proposed exhibits for use at the upcoming trial in this matter,

 scheduled to begin on February 5, 2024.
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       IT IS FURTHER ORDERED that the government shall provide a complete

 set of its exhibits via electronic means to defense counsel and the Court on or before

 January 26, 2024.




       DATED: _______

                                        BY THE COURT:

                                        ________________________________
                                        DANIEL D. DOMENICO
                                        UNITED STATES DISTRICT JUDGE
